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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      Eastern District
                                                  __________  District of
                                                                       of Texas
                                                                          __________


                      Mesa Digital LLC                            )
                             Plaintiff                            )
                                v.                                )      Case No.
              Huawei Device USA Inc., et al.                      )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Mesa Digital LLC                                                                                                    .


Date:          07/12/2018                                                              /s/ Kenneth A. Matuszewski
                                                                                            Attorney’s signature


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